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   4
     [Proposed] Attorneys for Debtors and Debtors in
   5 Possession, SCOOBEEZ, et al.

   6

   7
                                     UNITED STATES BANKRUPTCY COURT
   8
                                       CENTRAL DISTRICT OF CALIFORNIA
   9
                                                LOS ANGELES DIVISION
  10

  11    In re                                                      Case Nos.: 2:19-bk-14989; 2:19-bk-14991;
                                                                   2:19-bk-14997
  12    SCOOBEEZ, et al.1
                                                                   Chapter 11
  13                  Debtors and Debtors in
                      Possession.
  14                                                               DEBTORS’ EMERGENCY MOTION
        _____________________________________                      FOR ENTRY OF INTERIM ORDER
  15                                                               AUTHORIZING USE OF CASH
        Affects:                                                   COLLATERAL ON AN INTERIM BASIS;
  16                                                               DECLARATION OF SHAHAN
        ■ All Debtors                                              OHANESSIAN IN SUPPORT THEREOF
  17
        □ Scoobeez, ONLY                                           Hearing:
  18                                                               Date: May 1, 2019
        □ Scoobeez Global, Inc., ONLY                              Time: 3:00 p.m.
  19                                                               Place: Courtroom 1375
        □ Scoober LLC, ONLY                                                U.S. Bankruptcy Court
  20                                                                       255 East Temple Street
                                                                            Los Angeles, CA 90012
  21

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         The Debtors and the last four digits of their respective federal taxpayer identification numbers are as follows:
  28    Scoobeez (6339); Scoobeez Global, Inc. (9779); and Scoobur, LLC (0343). The Debtors’ address is 3463 Foothill
        Boulevard, Glendale, California 91214.

                                                               EMERGENCY MOTION TO AUTHORIZE USE OF CASH COLLATERAL
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   1    TO THE HONORABLE JULIA W. BRAND, UNITED STATES BANKRUPTCY JUDGE,
   2    THE OFFICE OF THE UNITED STATES TRUSTEE, SECURED CREDITORS, 20
   3    LARGEST UNSECURED CREDITORS, AND ALL INTERESTED PARTIES AND/OR
   4    THEIR COUNSEL OF RECORD:
   5

   6    I.         BASIS FOR EMERGENCY RELIEF
   7               1.   The Debtors move for entry of an interim order on an emergency basis pursuant to
   8    rule 9075-1 of the Local Rules. The Debtors provide on-demand logistics and delivery services
   9    in California, Nevada, Illinois, New York, and Texas. They offer door-to-door delivery service
  10    that facilitates same day deliveries for enterprise clients. Hillair Capital Management, LLC
  11    (“Hillair”) asserts a security interest in most, if not all, of the Debtors’ assets, including, without
  12    limitation, inventory, equipment, accounts receivables, fixtures and general intangibles
  13    (collectively, the “Collateral”). The Debtors require the use of cash collateral in order to pay the
  14    costs and expenses associated with their operations, which the Debtors must pay in short order in
  15    order to avoid serious and irreparable injury to the business and the envisioned reorganization.
  16    II.        STATEMENT OF FACTS
  17               A.   Jurisdiction and Venue
  18               1.   This Court has jurisdiction to consider this Motion under 28 U.S.C. §§ 157 and
  19    1334. This is a core proceeding under 28 U.S.C. § 157(b)(2). The Debtors consent to the entry of
  20    a final order by the Court in connection with this Motion to the extent it is later determined that
  21    the Court, absent consent of the parties, cannot enter final orders or judgments consistent with
  22    Article III of the United States Constitution. Venue of the Bankruptcy Cases and this Motion in
  23    this district is proper under 28 U.S.C. §§ 1408 and 1409.
  24               B.   The Debtors and the Chapter 11 Filing
  25               2.   On April 30, 2019 (the “Petition Date”), the Debtors filed voluntary petitions for
  26    relief under chapter 11 of the Bankruptcy Code in the United States Bankruptcy Court for the
  27    Central District of California, Los Angeles Division (the “Court”). The Debtors continue to
  28    operate and manage their affairs as debtors and debtors in possession pursuant to sections 1107(a)


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   1    and 1108 of the Bankruptcy Code. No party has requested the appointment of a trustee or
   2    examiner, and no committee has been appointed in any of the Bankruptcy Cases.
   3               3.   The Debtors are a logistics and delivery company headquartered at 3463 Foothill
   4    Boulevard, Glendale, California 91214.
   5               4.   Over the past two years, an increasing number of lawsuits have been filed against
   6    one or more of the Debtors, including various labor disputes. Most recently, on or about April 22,
   7    2019, Hillair Capital Management LLC (“Hillair”) filed a three-count complaint against the
   8    Debtors, alleging breach of contract, breach of guaranty and replevin and delivery, which is
   9    currently pending as case number 19GDCV00492 in the Superior Court of the State of California,
  10    County of Los Angeles, North Central District (the “Los Angeles Case”). On or about April 24,
  11    2019, Hillair filed an Ex Parte Application to Appoint Receiver, Issue Temporary Restraining
  12    Order and Set Order to Show Cause Why Receiver Should Not Be Confirmed and Why
  13    Preliminary Injunction Should Not Be Issued (the “Ex Parte Application”) in the Los Angeles
  14    Case. The hearing on the Ex Parte Application was set for May 1, 2019 at 1:30 p.m. In addition,
  15    within the past 90-120 days, a number of purported creditors have filed UCC-1 financing
  16    statements asserting purported liens against substantially all, if not all, of the Debtors’ personal
  17    property, including but not limited to accounts receivable.
  18               5.   Based on the aforementioned events and circumstances, amongst others, the
  19    Debtors began to explore and evaluate potential reorganization strategies aimed towards
  20    preserving and strengthening the Debtors’ operations. After significant deliberation by the
  21    Debtors in this regard, the Debtors determined, in conjunction with insolvency counsel, that
  22    pursing reorganization under chapter 11 of the Bankruptcy Code provided the best option for the
  23    Debtors, their customers, and their creditors.
  24               6.   By and through the Bankruptcy Cases, the Debtors intend to restructure their
  25    obligations and reorganize their operations in order to maximize revenues and, thus, their ability
  26    to pay creditors of the bankruptcy estates through a plan of reorganization.
  27               7.   The Debtors have begun to engage in good faith discussions and negotiations with
  28    a number of its larger creditors in order to continue to assess the most viable exit strategy. The

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   1    Debtors have also endeavored to ensure substantial compliance with the guidelines and
   2    requirements of the Office of the United States Trustee (the “UST”).
   3               8.     In the interim, and for the Interim Period, the Debtors seeks to use their cash in
   4    accordance with the budget (the “Budget”) appended to the Declaration of Shahan Ohanessian
   5    (the “Ohanessian Declaration”) as Exhibit A, and incorporated herein by reference.
   6    III.       DISCUSSION
   7               A.     Section 363 of the Bankruptcy Code Authorizes a Debtor to Use Cash
   8                      Collateral Either With (i) Consent or (ii) Court Approval.
   9               Section 363(c)(2) of the Bankruptcy Code governs a debtor’s use of cash collateral and
  10    provides, in pertinent part, as follows:
  11               (2) The trustee may not use, sell or lease cash collateral…. unless: …[¶]… (A)
                   each entity that has an interest in such cash collateral consents; or …[¶]… (B) the
  12               court, after notice and a hearing, authorizes such use, sale, or lease in accordance
                   with the provisions of this section.
  13

  14    11 U.S.C. § 363 (c)(2). Pursuant to § 1107(a), a debtor-in-possession has all the rights and
  15    powers of a trustee with respect to property of the estate, including the right to use property of the
  16    estate in accordance with § 363. See 11 U.S.C. § 1107(a). As with most debtors whose primary
  17    assets are or may be subject to liens, the Debtor has an exigent and compelling need to use cash
  18    collateral. As noted in Chrysler Credit Corp. v. Ruggiere (In re George Ruggiere Chrysler-
  19    Plymouth, Inc.):
  20               A debtor, attempting to reorganize a business under Chapter 11, clearly has a
                   compelling need to use “cash collateral” in its effort to rebuild. Without the
  21               availability of cash to meet daily operating expenses such as rent, payroll, utilities,
                   etc., the congressional policy favoring rehabilitation over economic failure would
  22               be frustrated.
  23    727 F.2d 1017, 1019 (11th Cir. 1984) (internal citation omitted). (upholding lower court’s finding
  24    that, where a secured lender’s collateral was worth less than the amount of the secured lender’s
  25    claims, lender would nevertheless be adequately protected even if the debtor used gross profits
  26    obtained in the debtor’s business operation so long as the debtor paid the secured lender the
  27    amount the lender would receive from the inventory in liquidation).
  28


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   1               Section 363(e) of the Bankruptcy Code provides, however, that upon the request of an
   2    entity that has an interest in property proposed to be used by the debtor, the court may prohibit or
   3    condition such use “as is necessary to provide adequate protection of such interest.” 11 U.S.C.
   4    § 363. In other words, the Court may authorize the Debtors’ use of any cash collateral of any
   5    creditor upon determining that the interest thereof will be adequately protected if such use is
   6    authorized. See In re McCombs Properties VI, Ltd., 88 B.R. 261 (Bankr. C.D. Cal. 1988).
   7               Section 361 of the Bankruptcy Code identifies various methods for providing adequate
   8    protection. 11 U.S.C. § 361. The interest requiring adequate protection under § 363(e) is the
   9    value of the collateral subject to the secured creditor’s security interest. See United States v.
  10    Timbers of Inwood Forest, 484 U.S. 362, 108 S.Ct 626 (1988). Such security interest is
  11    adequately protected, regardless of the method utilized, so long as the debtor’s use of the
  12    collateral will not place the collateral at risk. Id., 108 S.Ct at 633. In evaluating the sufficiency
  13    of adequate protection, courts must (1) establish the value of the secured creditor’s interest in the
  14    debtor’s property, (2) identify the risk, if any, to the value of the secured creditor’s cash collateral
  15    resulting from the debtor’s use, and (3) determine whether the proposed adequate protection
  16    protects the value of the cash collateral as nearly as possible against risk to the diminution of that
  17    value. McCombs, supra, 86 B.R. at 267, quoting In re Martin, 761 F.2d 472 (8th Cir. 1985).
  18               If there is a question as to whether any creditor which requires and/or requests adequate
  19    protection is adequately protected, the Court should find that the proposed adequate protection is
  20    sufficient in deference to the public policy favoring reorganization. See Chrysler Credit Corp.,
  21    supra, 727 F.2d at 1019.
  22               Because the ultimate benefit to be achieved by a successful reorganization inures
                   to all the creditors of the estate, a fair opportunity must be given to the Debtors to
  23               achieve that end. Thus, while interests of the secured creditor … are of concern to
                   the court, the interests of all other creditors also have bearing upon the question of
  24               whether use of Cash Collateral shall be permitted during the early stages of
                   administration.
  25
                   The first effort of the court must be to insure the value of the collateral will be
  26               preserved. Yet, prior to confirmation of a plan of reorganization, the test of that
                   protection is not by the same measurements applied to the treatment of a secured
  27               creditor in a proposed plan. In order to encourage the Debtors’ efforts in the
                   formative period prior to the proposal of a reorganization, the court must be
  28               flexible in applying the adequate protection standard.

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   1    Mbank Dallas, N.A. v. O’Connor (In re O’Connor), 808 F.2d 1393, 1397-98 (10th Cir. 1987)
   2    (internal citations omitted). In granting the debtor’s motion to use cash collateral, the Court in In
   3    re Heaton Inc. further stated:
   4               At the beginning of the reorganization process, the Court must work with less
                   evidence than might be desirable and should resolve issues in favor of the
   5               reorganization, where the evidence is conflicting.
   6    6 B.R. 493, 496 (Bankr. W.D. Mo. 1980).
   7               In the instant case, the purported cash collateral includes, inter alia, cash and deposits and
   8    accounts receivables. Due to the nature of Debtors’ business, the value of the Collateral depends
   9    on the continued operation of the Debtors, which ensures that the Debtors continue generating
  10    accounts receivable and revenues necessary to maintain the business during the Bankruptcy
  11    Cases. Thus, the greatest threat to the value of the cash collateral (and creditors’ purported
  12    interest therein) is not its use; rather, it is the harm coincident with the cessation or reduction of
  13    the Debtors’ operation, which is all but guaranteed if the Debtors are not permitted to utilize cash
  14    collateral immediately. See In re Pursuit Athletic Footwear, Inc., 193 B.R. 713, (Bankr. D. Del.
  15    1996)(“[I]f there is no actual diminution in the value of collateral through the date of the hearing,
  16    and the [Debtor] can operate profitably post-petition, [the secured creditor] is adequately
  17    protected for the use of its cash collateral.”); see also In re Wrecclesham Grange, Inc., 221 B.R.
  18    978, 981 (Bankr. M.D. Fla. 1997) (“as long as the debtor generates a continuous income stream,
  19    the debtors use of [cash collateral] does not diminish the value of the collateral.”); In re 499 W.
  20    Warren St. Assocs., Ltd. P’ship, 142 B.R. 52, 56 (Bankr. N.D.N.Y. 1992) (finding a secured
  21    creditor’s interest in collateral adequately protected when cash collateral was applied to normal
  22    operating and maintenance expenditures on the collateral); In re Cardinal Indus., Inc., 118 B.R.
  23    971, 981 (Bankr. S.D. Ohio 1990) (ruling that secured lenders were adequate protected by
  24    debtors’ use of funds to maintain and manage the encumbered assets). As shown in the Budget,
  25    the Debtors project a continuous income stream over the next 90 days. Accordingly, the Debtors’
  26    continued operation, in and of itself, constitutes adequate protection for the interests of Hillair in
  27    the Collateral, if any.
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   1               C.     The Debtors Are Not Aware of Any Other Parties Asserting Valid Liens on
   2                      Cash Collateral.
   3               Other than Hillair, the Debtors are not aware of any other entity that is asserting or could
   4    assert an interest in the Debtors’ property, including their cash.
   5               D.     The Court Should Authorize the Debtors’ Use of Cash Collateral on an
   6                      Interim Basis.
   7               The Debtors submit that the Court should authorize the Debtors’ use of cash collateral on
   8    an interim basis pursuant to the terms of the Budget. The Debtors are negotiating an agreement in
   9    principal on adequate protection with the only entity who could claim or is claiming any interest
  10    in the Cash Collateral, and the Debtors believe in good faith that any liens claimed on the
  11    Debtors’ Cash Collateral by any other entities are invalid. Given the Debtors’ urgent need to use
  12    its cash to ensure the payment of, amongst other things, payroll on May 1, 2019, the Debtors
  13    respectfully request that the Court approve the Debtors’ use of Cash Collateral on the terms set
  14    forth herein and in the Budget.
  15    IV.        NOTICE
  16               As reflected in the proof of service that was filed concurrently with the Notice of
  17    Emergency Hearing on Debtors’ First Day Motions (Docket No. 6), on or about April 30, 2019,
  18    and in accordance with the directives of the Court, the Debtors served all known parties-in-
  19    interest with notice of the emergency hearing on the First Day Motions. Prior to the hearing, the
  20    Debtors will serve a copy of the Motion in the same manner as service of the notice of the
  21    emergency hearing. In the event that the Court grants the relief requested by the Motion, the
  22    Debtors shall provide notice of the entry of the order granting such relief upon each of the
  23    foregoing parties and any other parties in interest as the Court directs. The Debtors submit that
  24    such notice is sufficient and that no other or further notice need be given.
  25    V. CONCLUSION
  26               Based on the foregoing, the Debtors respectfully request that the Court enter an order (a)
  27    granting the Motion in its entirety; (b) authorizing the use of Cash Collateral, if any, on the terms
  28


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   1    set forth herein and in the Budget for the Interim Period; and (c) granting any further or additional
   2    relief the Court deems just and appropriate.
   3      Dated:   May 1, 2019                     Respectfully submitted,
   4
                                                   FOLEY & LARDNER LLP
   5

   6                                                         /s/ Ashley M. McDow
                                                   By:
   7                                                         Ashley M. McDow

   8                                               [Proposed] Attorneys for Scoobeez, Scoobeez Global,
                                                   Inc., and Scoobur, LLC, Debtors and Debtors in
   9                                               Possession

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   1                              DECLARATION OF SHAHAN OHANESSIAN
   2               I, Shahan Ohanessian, hereby declare:
   3         1. I am an individual over 18 years of age. I have personal knowledge of the facts stated
   4    herein as more fully set forth below or have gained such knowledge by review of the file and if
   5    called as a witness, I could and would competently testify thereto.
   6         2. I make this declaration in support of the the Motion.2
   7         3. I am the Chief Executive Officer (“CEO”) for the Debtors, and, in that capacity, among
   8    other things maintain books, records, files and documents relating to the Debtors. In the ordinary
   9    course of business, I rely on the maintenance of true and correct copies of various documents
  10    relating to the Debtors. I have personally worked on books, records, files and documents, and as
  11    to the following facts, I know them to be true of my own knowledge or I have gained knowledge
  12    of them from my business records, which were made at or about the time of the events recorded,
  13    and which are maintained in the ordinary course of the Debtors’ business at or near the time of
  14    the acts, conditions or events to which they related. Additionally, as the CEO, I have been
  15    involved in discussions and planning sessions related to the potential reorganization options and,
  16    thus, am familiar with the objectives the Debtors intend to achieve through the Bankruptcy Cases.
  17         4. I have read the contents of the Motion, and to best of my knowledge, all the
  18    representations made in reference to my declaration are true and correct.
  19         5. A true and correct copy of the budget in support of the Motion is attached hereto as
  20    Exhibit A, and incorporated herein and into the Motion by reference (the “Budget”).
  21         6. As set forth in the Motion, the Debtors seek to use their cash in accordance with the
  22    Budget, which represents the expenses that are necessary and vital to the Debtors’ operations.
  23         7. In April 2019, the Debtors received approximately $3,100,000.00 in revenues. The
  24    Debtors estimate to receive approximately the same amount in May 2019.
  25         ///
  26         ///
  27         ///
  28    2   Capitalized terms otherwise not defined herein have the same meaning as in the underlying Motion.

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   1               I declare under penalty of perjury that the foregoing is true and correct. Executed this
   2    1st day of May, at Glendale, California.
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                        EXHIBIT A
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                                                                    May         June         July         TOTAL
    Ordinary Income/Expense
            Income
                44000 · Sales
                       40200 · AMZL
                Total 44000 · Sales                                 3,100,000   3,100,000    3,200,000    9,400,000
            Total Income                                            3,100,000   3,100,000    3,200,000    9,400,000
            Cost of Goods Sold
                50100 · Amazon Prime Now - COS
                50200 · AMZL-COS
                           Fues                                      194,000     194,000      194,000      582,000
                           Vehicle                                   550,000     550,000      550,000     1,650,000
                           Direct Labor                             1,782,000   1,782,000    1,852,000    5,416,000
                           Citations                                   4,600       4,600        4,600       13,800
                           Office Supplies                             1,000       1,000        1,000        3,000
                           Rent                                       13,753      13,753       13,753       41,259
                           Accidents                                   4,500       4,500        4,500       13,500
                           Payroll Tax                               140,000     150,000      160,000      450,000
                           Tolls                                      10,000      10,000       10,000       30,000
                           Parking Lot                                 5,000       5,000        5,000       15,000
            Total COGS                                              2,704,853   2,714,853    2,794,853    8,214,559
        Gross Profit                                                 395,147     385,147      405,147     1,185,441
            Expense
                60015 · Bank Charges                                   1,700       1,700        1,700        5,100
                60020 · Dues & Subscriptions                           9,000       9,000        9,000       27,000
                60175 · Workers Compensation and Reserve             110,000     110,000      110,000      330,000
                60180 · Janitorial Expense                             2,000       2,000        2,000        6,000
                60500 · Recruitment Expense                            2,000       2,000        2,000        6,000
                60650 · Uniforms                                       1,000       1,000        1,000        3,000
                60700 · Marketing                                         500          500          500      1,500
                60750 · Meals and Entertainment                           500          500          500      1,500
                60950 · Phones - Amazon Rabits For Driver Routing     28,000      28,000       28,000       84,000
                61000 · Professional Fees                             40,000      40,000       40,000      120,000
                61400 · Tax & License Fees
                62100 · Employee benefits
                62700 · Payroll Taxes
                       62140 · SUTA                                    2,000       2,000        2,000        6,000
                       62710 · FICA- Medicare-ER                       1,500       1,500        1,500        4,500
                       62720 · FICA- Social Security-ER                1,500       1,500        1,500        4,500
                       62730 · FUTA                                       300          300          300        900
                Total 62700 · Payroll Taxes                            5,300       5,300        5,300       15,900
                62750 · Pre-Employment Screening




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                                                               May        June       July       TOTAL
                    62760 · Employee Drug Test                       -           -          -           -
                    62770 · Employee Background Test             10,000     10,000     10,000     30,000
                    62750 · Pre-Employment Screening - Other         -           -          -           -
                Total 62750 · Pre-Employment Screening           10,000     10,000     10,000     30,000
                62800 · Payroll Expenses
                    62810 · Payroll Check Processing Fees         6,000      6,000      6,000     18,000
                Total 62800 · Payroll Expenses                    6,000      6,000      6,000     18,000
                64010 · Information Technology                   15,000     15,000     15,000     45,000
                65000 · Insurance                                51,000     51,000     51,000    153,000
                65030 · Insurance - Liability                     2,712      2,712      2,712      8,136
                66000 · Travel
                    66100 · Travel - Auto                         2,941      2,941      2,941      8,822
                    66200 · Travel - Hotel                        5,000      5,000      5,000     15,000
                    66300 · Travel - Airfare                      5,000      5,000      5,000     15,000
                    66400 · Travel Meals & Entertainment          1,000      1,000      1,000      3,000
                Total 66000 · Travel                             13,941     13,941     13,941     41,822
                67000 · Rent or Lease
                    67050 · Rent - SAT5 - San Antonio             2,233      2,233      2,233      6,699
                    67060 · Rent - DCH1- Chicago                  4,182      4,182      4,182     12,545
                Total 67000 · Rent or Lease                       6,415      6,415      6,415     19,244
                67150 · Utilities                                 3,265      3,265      3,265      9,796
                68000 · Repair & Maintenance                      1,000      1,000      1,000      3,000
                68120 · Shipping and delivery expense             2,000      2,000      2,000      6,000
            Total Expense                                       311,333    311,333    311,333    933,998
    Net Ordinary Income                                          83,814     73,814     93,814    251,443




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